           Case 3:22-cv-02646-LB Document 101 Filed 01/23/23 Page 1 of 2



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      META PLATFORMS, INC. and
13    MARK ZUCKERBERG
14
                                  UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16

17   LAURA LOOMER, as an individual, LAURA
     LOOMER, in her capacity as a Candidate for           Case No. 3:22-cv-02646-LB
18   United States Congress, and LAURA LOOMER
     FOR CONGRESS, INC.,                                  NOTICE OF CHANGE OF FIRM ADDRESS
19
                           Plaintiffs,
20
            v.
21
     META PLATFORMS, INC., MARK
22   ZUCKERBERG, in his capacity as CEO of Meta
     Platforms, Inc. and as an individual, TWITTER,
23   INC., and JACK DORSEY, in his capacity as
     former CEO of Twitter, Inc. and as an individual,
24   THE PROCTOR & GAMBLE COMPANY,
25   DOES 1-100, individuals,
                           Defendants.
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       CASE NO.   3:22-CV-02646-LB                              NOTICE OF CHANGE OF FIRM ADDRESS
           Case 3:22-cv-02646-LB Document 101 Filed 01/23/23 Page 2 of 2




1    TO: THE COURT, ALL PARTIES AND COUNSEL OF RECORD:

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            PLEASE TAKE NOTE THAT as of January 23, 2023, the Washington, DC office of Wilmer
3
     Cutler Pickering Hale and Dorr LLP has relocated. The new mailing address for Ari Holtzblatt and
4
     Jeremy W. Brinster is:
5

6           WILMER CUTLER PICKERING HALE AND DORR LLP
            2100 Pennsylvania Ave, NW
7
            Washington, DC 20037
8    The firm’s telephone number and the attorneys’ email addresses have not changed.
9

10
      DATED: January 23, 2023                           /s/ Ari Holtzblatt
11                                                      ARI HOLTZBLATT (pro hac vice)
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       CASE NO.   3:22-CV-02646-LB                  2        NOTICE OF CHANGE OF FIRM ADDRESS
